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5
6    Attorneys for Defendant
     CARLOS ENRIQUEZ
7
8                                            UNITED STATES DISTRICT COURT
9                                           EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                           No. 1:11-cr-00354 LJO
12                             Plaintiff,                STIPULATED MOTION AND ORDER TO
                                                         REDUCE SENTENCE PURSUANT TO 18
13             v.                                        U.S.C. § 3582(c)(2)
14   CARLOS ENRIQUEZ,                                    RETROACTIVE DRUGS-MINUS-TWO
                                                         REDUCTION CASE
15                             Defendant
                                                         Judge: Honorable LAWRENCE J. O’NEILL
16
17             Defendant, CARLOS ENRIQUEZ, by and through his attorney, Hannah R. Labaree, and
18   plaintiff, UNITED STATES OF AMERICA, by and through its counsel, Assistant U.S. Attorney
19   Kathleen A. Servatius, hereby stipulate as follows:

20             1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of

21   imprisonment in the case of a defendant who has been sentenced to a term of imprisonment

22   based on a sentencing range that has subsequently been lowered by the Sentencing Commission

23   pursuant to 28 U.S.C. § 994(o);

24             2.         On April 28, 2014, this Court sentenced Mr. Enriquez to a term of 140 months

25   imprisonment;

26             3.         His total offense level was 29, his criminal history category was V, and the

27   resulting guideline range was 140 to 175 months;

28

     Stipulation and Order Re: Sentence Reduction          1
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1              4.         The sentencing range applicable to Mr. Enriquez was subsequently lowered by the
2    United States Sentencing Commission in Amendment 782, made retroactive on July 18, 2014,
3    see 79 Fed. Reg. 44,973;
4              5.         Mr. Enriquez’ total offense level has been reduced from 29 to 27, and his
5    amended guideline range is 120 to 150 months;
6              6.         Accordingly, the parties request the Court enter the order lodged herewith
7    reducing Mr. Enriquez’ term of imprisonment to a total term of 120 months.
8    Respectfully submitted,
9    Dated: June 2, 2016                                Dated: June 2, 2016
10   PHILLIP A. TALBERT                                 HEATHER E. WILLIAMS
     Acting United States Attorney                      Federal Defender
11
12   /s/ Kathleen A. Servatius                          /s/ Hannah R. Labaree__
     KATHLEEN A. SERVATIUS                              HANNAH R. LABAREE
13   Assistant U.S. Attorney                            Assistant Federal Defender
14   Attorney for Plaintiff                             Attorney for Defendant
     UNITED STATES OF AMERICA                           CARLOS ENRIQUEZ
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     Stipulation and Order Re: Sentence Reduction          2
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1                                                    ORDER
2              This matter came before the Court on the stipulated motion of the defendant for reduction
3    of sentence pursuant to 18 U.S.C. § 3582(c)(2).
4              The parties agree, and the Court finds, that Mr. Enriquez is entitled to the benefit
5    Amendment 782, which reduces the total offense level from 29 to 27, resulting in an amended
6    guideline range of 120 to 150 months.
7              IT IS HEREBY ORDERED that the term of imprisonment imposed in April 2014 is
8    reduced to a term of 120 months. In no event is this Order to be understood as authorizing a
9    term of imprisonment less than the term actually served as of the date of this order.
10             IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
11   remain in effect. The clerk shall forthwith prepare an AO Form 247 reflecting the above
12   reduction in sentence, and shall serve certified copies on the United States Bureau of Prisons and
13   the United States Probation Office.
14             Unless otherwise ordered, Mr. Enriquez shall report to the United States Probation Office
15   within seventy-two hours after his release.
16
     IT IS SO ORDERED.
17
18        Dated:        June 3, 2016                           /s/ Lawrence J. O’Neill _____
                                                     UNITED STATES CHIEF DISTRICT JUDGE
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     Stipulation and Order Re: Sentence Reduction        3
